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                  Exhibit K
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


    PFLAG, INC.; et al.,

            Plaintiffs,

    v.                                                   Civil Action No.

    DONALD J. TRUMP, in his official capacity
    as President of the United States; et al.,

            Defendants.



                                 DECLARATION OF DYLAN DOE

          I, Dylan Doe, 1 pursuant to 28 U.S.C. § 1746, declare as follows:

          1.      My name is Dylan Doe. I am a Plaintiff in this action. I offer this Declaration in

support of Plaintiffs’ Motion for Temporary Restraining Order. I am over 18 years of age, have

personal knowledge of the facts set forth in this Declaration, and would testify competently to

those facts if called as a witness.

          2.      I turned 18 years old last week.

          3.      My family is a member of PFLAG.

          4.      I am a transgender man. My sex assigned at birth was female, but I am male.

          5.      I came out as transgender when I was 12, at the end of sixth grade.

          6.      I have been diagnosed with gender dysphoria. In seventh grade, I started puberty

blockers. In eighth grade, when I was 14, I started testosterone. I have continued to take

testosterone since then. Before both of those steps, my parents and I consulted with my doctors


1
 Dylan Doe is a pseudonym. I am proceeding under pseudonym to protect my right to privacy and
myself from discrimination, harassment, and violence, as well as retaliation for seeking to protect
my rights.
                                                     1
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and extensively discussed the risks, benefits, and alternatives to care. All of our questions were

answered and I was told what to expect, including that puberty blockers were temporary and what

the effects of testosterone would be.

       7.      My family used to live in Tennessee. I started high school there, but after just a few

days, the environment felt so hostile because of the state’s anti-transgender laws that my family

decided to move to Massachusetts in 2021.

       8.      I have loved living in Massachusetts. Most people do not know that I am trans, and

when I do tell people, they don’t care.

       9.      I have a full life here. I go to school, have friends, volunteer in my community, and

have a job.

       10.     Every four months, I go to the doctor’s office for a procedure that allows me to

receive a long-acting form of testosterone.

       11.     On Tuesday, January 28, 2025, the White House issued an Executive Order entitled

“Protecting Children from Chemical and Surgical Mutilation” (“Executive Order”).

       12.     I had an appointment scheduled for January 31, 2025, where I was supposed to

receive testosterone as I normally do.

       13.     The day before, on January 30th, a provider from the clinic called to say that my

appointment was canceled and would need to be postponed because of President Trump’s

Executive Order.

       14.     I first learned about the Executive Order on social media. At first, I did not think it

was real.

       15.     This healthcare makes my life livable. When I think about losing this healthcare

and the physical effects of gender-affirming care, I get so depressed and cannot function. I used to



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be so, so anxious about not passing as male. It inhibited my social life. Now, I can live my life

without thinking about that, because I have had access to this healthcare. It is an essential part of

my life. My access to it influences the decisions I think about, including whether I can travel.

       16.     Next year, I am going to college to study linguistics. I speak three languages and

am working on learning two more. I want to help preserve endangered languages.

       17.     I hope this Executive Order is stopped so that trans young people and young adults

like me across the country can continue to access gender affirming care. If the Executive Order is

not stopped, and I cannot access this healthcare for another year, I will be devastated. I do not

know how I will be able to find the medical care I need—I may have to travel abroad. Receiving

this medical care as an adolescent has allowed me to become the adult I am today, and I should

not have to leave my doctor or my country to continue to live my life.



       I declare under penalty of perjury that the foregoing is true to the best of my knowledge

and belief.



Dated this __ day of February, 2025                                  _______________________
                                                                     Dylan Doe




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this medical care as an adolescent has allowed me to become the adult I am today, and I should

not have to leave my doctor or my country to continue to live my life.



       I declare under penalty of perjury that the foregoing is true to the best of my knowledge

and belief.



Dated this~ day of February, 2025
                                                                   Dylan Doe




                                                3
